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                  Exhibit 7
     Kara Scannell, Evan Perez, Hannah
Rabinowitz, and Jeremy Harb, ‘It was never
going to be me’: How Trump’s DOJ sparked a
  crisis and mass resignations over the Eric
       Adams case, CNN, Feb. 15, 2025
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    will return to its core function of prosecuting dangerous criminals, not pursuing politically
    motivated wit
              witch hunts,” Justice Department chief of staff Chad Mizelle said in a Friday
    afternoon memo.

    “The fact that those who indicted and prosecuted the case refused to follow a direct command
    is further proof of the disordered and ulterior motives of the prosecutors,” he added. “Such
    individuals have no place at DOJ.”


    To the bar and back
    The public integrity section has seen a target on its back since Trump took office, as the Trump
    administration has gutted the federal government’s ability to fight public corruption in its first
    weeks. Senior administration officials have considered eliminating the unit, which was created
    after Watergate to combat public corruption.

    After Sassoon resigned on Thursday, Bove turned to the public integrity unit to carry out his
    order to dismiss the Adams case. He was met with more resignations.

    First came Kevin Driscoll, the top career criminal division prosecutor who oversaw the public
    integrity section, and John Keller, who had been named the acting head of the unit. After they
    resigned, the office’s prosecutors gathered at a bar nearby to toast their departing colleagues,
    according to sources familiar with the matter.

    Then another message came: Bove wanted to speak with three more prosecutors from the
    office.

    They returned to the office to jump on a video call with Bove, who told them the Justice
    Department needed a career public integrity lawyer to file the dismissal of the case against
    Adams.

    The prosecutors initially tried to talk Bove out of forcing them to sign the filing. When Bove
    insisted, the trio resigned on the spot, people familiar with the discussion told CNN.

    Then they returned to the bar.


    ‘Only if the indictment were dismissed’
    The Southern District of New York last year brought public corruption charges against Adams in
    the first prosecution of a sitting mayor in the city’s modern history. Adams pleaded not guilty,
    and the case was set to go to trial this spring.

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https://www.cnn.com/2025/02/14/politics/eric-adams-justice-department-tick-tock/index.html                                                                   4/14
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    Trump’s reelection changed everything. Three days before Trump was sworn in, Adams traveled
    down to Mar-a-Lago to meet with Trump, setting off speculation about what was to come in his
    criminal case. He also accepted a last-minute invitation to the inauguration.

    Soon after Trump took office, Adams’ attorneys approached the White House counsel’s office
    to inquire about a pardon for Adams but never heard back, one person familiar with the matter
    said.

    About one week later, Bove contacted Adams attorney Alex Spiro to set up a meeting. He told
    him the Justice Department was familiar with the legal arguments and the weaknesses of the
    case were obvious, one person familiar with the matter said. Bove added they were considering
    dismissing the charges and wanted to hear from them about how the prosecution was
    impacting Adams’ ability to do his job and for specific examples of the alleged weaponization of
    the Justice Department, people familiar with the matter said.

    On January 31, Bove convened the meeting in Washington. Bove was the only senior member
    of the Justice Department present. He was joined by Adams’ attorneys, Spiro and William
    Burck, as well as Sassoon, Scotten and two others from SDNY.

    Adams’ legal team argued the looming criminal charges made it difficult for Adams to lead the
    city and prepare for trial at the same time, along with as much as two months he would have to
    sit in a courtroom, the people said.

    In her resignation letter, Sassoon wrote that Adams’ attorneys “repeatedly urged what
    amounted to a quid pro quo, indicating that Adams would be in a position to assist with the
    Department’s enforcement priorities only if the indictment were dismissed.” She alleged that
    her colleagues took notes on the meeting but were forced to hand them over to Bove once it
    concluded.

    The mayor’s attorneys also raised recent actions by the former US attorney for the Southern
    District of New York, Damian Williams, the people said.

    Williams had resigned from the US attorney’s office in mid-December and launched a website
    with color photos and links to press coverage, which has sparked speculation it could be a
    potential vehicle for a future political campaign.

    On January 16, Williams wrote an op-ed for City & State titled, “An indictment of the sad state of
    New York government,” which Adams attorneys seized on as being part of the politicalization of
    the case.

    Spiro accused Williams of ethical misconduct and violating rules governing what prosecutors
    can say about cases He raised it with the trial judge Dale Ho who concluded that Williams
https://www.cnn.com/2025/02/14/politics/eric-adams-justice-department-tick-tock/index.html                                                            5/14
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    can say about cases. He raised it with the trial judge, Dale Ho, who concluded that Williams
    didn’t violate the rules.

    Ho, a Biden appointee, will decide the motion to dismiss the case.


    ‘The ever-present partner that DHS needs’
    After the January 31 meeting, Bove asked SDNY and Adams legal team to submit more
    information in writing.

    Adams’ attorneys asked for an outright dismissal of the case – emphasizing the impact the trial
    would have on Adams’ ability to lead the city and his “longtime desire to confront the migrant
    crisis head-on.” The letter even noted that if Adams’ was removed from office, his replacement
    would be “a frequent outspoken critic of Mayor Adams’s desire to protect New Yorkers by
    combating the migrant crisis.”

    “As his trial grows near, it will be untenable for the Mayor to be the ever-present partner that
    DHS needs to make New York City as safe as possible,” Spiro wrote.

    When Bove issued his directive ordering a dismissal of the case this week he did so without
    prejudice, meaning the case could be revived in the future after the mayoral election in
    November 2025.

    “The pending prosecution has unduly restricted Mayor Adams’ ability to devote full attention
    and resources to the illegal immigration and violent crime that escalated under the policies of
    the prior Administration,” wrote Bove.

    His memo noted that the order was issued “without assessing the strength of the evidence or
    the legal theories on which the case is based,” which Sassoon cited in her decision to defy his
    order.

    The day after being directed to drop the charges, Sassoon told Bove on the phone and Bondi in
    writing that she would not dismiss the case. She called an “all hands” meeting of her office on
    Wednesday, but that was abruptly canceled.

    A little more than 24 hours later, Sassoon submitted her eight-page resignation letter to Bondi.
    Moments later, she told her staff in New York that she had submitted her resignation, people
    familiar with the matter said.


    ‘You lost sight of the oath’
    Last year, Bove and Blanche represented Trump in multiple criminal cases. Now Trump’s
https://www.cnn.com/2025/02/14/politics/eric-adams-justice-department-tick-tock/index.html                                                           6/14
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    criminal defense attorneys are his go-to at the Justice Department.

    Blanche and Bove were skeptical of the Adams prosecution from the outset, specifically
    whether prosecutors could prove Adams intentionally violated campaign finance laws. They
    view dismissing the case as carrying out Trump’s executive order to review all cases of
    aggressive prosecutions and the president’s desire to have partners in states to further his
    political agenda, people familiar with their thinking said.

    Soon after arriving at DOJ, Bove asked all US attorney offices to look at cases in their districts
    where there was overreach, especially on public corruption and business cases, the person
    said.

    In a letter accepting Sassoon’s resignation, Bove defended the decision to drop the case
    against Adams, arguing Sassoon did not have the right to ignore the policies of the president
    and the attorney general.

    “You lost sight of the oath that you took when you started at the Department of Justice by
    suggesting that you retain discretion to interpret the Constitution in a manner inconsistent with
    the policies of a democratically elected President and a Senate-confirmed Attorney General,”
    Bove wrote.



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